Case 18-12428-SDM        Doc 93     Filed 11/16/18 Entered 11/16/18 18:25:34            Desc Main
                                    Document     Page 1 of 3


                   IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE: PRO TRUCKING, INC.                                              CASE NO. Ɔƍ-ƆƇƉƇƍ-SDM
       DEBTOR                                                                    CHAPTER ƆƆ

                       EXPEDITED MOTION FOR CONTINUANCE

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respectfully requesting that this Court continue the hearing on Colonial Funding Network, Inc.’s

(“Colonial Funding”) [64] Motion to Prohibit Debtor’s Use of Non-Estate Property and to

Compel Turnover, which is currently set for November 27, 2018 at 10:00 a.m. In support, CCG

shows the following:

       1.      ) +/ ( -ee6fdel6*'*)$'0)$)"' $/.(*/$*)6.&$)"/#$.*0-//*6

among other things, order the Debtor to turnover certain accounts receivable.

       2.      Because CCG has a vested right in the Debtor’s accounts receivable, CCG timely

[72] objected to Colonial Funding’s motion.

       3.      This Court set the hearing on Colonial Funding’s motion for October 23, 2018

(See [65] Notice of Hearing), but the hearing was reset for November 27, 2018 (See [87] Notice of

Hearing).

       4.      Because CCG has a vested interest in the Debtor’s accounts receivable, it is

necessary for CCG to attend the hearing to protect its rights and interests.

       5.      But CCG’s counsel, John Thomson, is scheduled to appear before the Supreme

Court of South Carolina the date of the hearing. And CCG’s other counsel of record, Tim

Anzenberger, is scheduled to appear before the Hinds County Justice Court the date of the

hearing for trial, which trial has already been continued once at the request of Mr. Anzenberger.
Case 18-12428-SDM        Doc 93    Filed 11/16/18 Entered 11/16/18 18:25:34           Desc Main
                                   Document     Page 2 of 3


       6.      CCG therefore respectfully asks this Court to grant this Motion and continue the

hearing, so that CCG may appear and protect its rights and interests in the Debtor’s accounts

receivable.

       For these reasons, CCG respectfully asks this Court to grant this motion and continue

the hearing.

       Dated: November 16, 2018.

                                             COMMERCIAL CREDIT GROUP INC.

                                     By: /s/ Timothy J. Anzenberger
                                         Timothy J. Anzenberger (MSB No. 103854)
                                         Adams and Reese llp
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                                     -and-

                                     By: /s/ John A. Thomson, Jr.
                                         John A. Thomson, Jr. (PHV)
                                         Adams and Reese llp
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                                                2
Case 18-12428-SDM       Doc 93     Filed 11/16/18 Entered 11/16/18 18:25:34   Desc Main
                                   Document     Page 3 of 3


                               CERTIFICATE OF SERVICE

       Service provided via Notice of Electronic Filing (NEF) through ECF:

Craig M. Geno;                                Karen B. Schneller;
Daniel B. Smith;                              Regan C. Loper;
Joe A. Joseph;                                Sammye S. Tharp; and
John M. Lassiter;                             Â) Â."Â66Â,/-.6Â

       Dated: November 16, 2018.

                                              /s/ Timothy J. Anzenberger
                                              Of Counsel




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